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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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TOSH HENDERSON,

Plaintiff,
-against- : PETITION FOR REMOVAL
OF ACTION UNDER 28 U.S.C.
ORDA MANAGEMENT CORPORATION, 225 : §1446(a) DIVERSITY

FOURTH, LLC, FACEBOOK, INC., and JRM
CONSTRUCTION MANAGEMENT, LLC

Defendants.

TO THE CLERK OF THE ABOVE-ENTITLED COURT:

PLEASE TAKE NOTICE that Defendant FACEBOOK, INC., hereby submits this
Petition for Removal in accordance with 28 U.S.C. §1446 and respectfully represent as follows:

1 This action was commenced against ORDA MANAGEMENT CORPORATION, 225
FOURTH, LLC, FACEBOOK, INC. (“Facebook”), and JRM CONSTRUCTION MANAGEMENT,
LLC (“JRM”), in the Supreme Court of the State of New York, County of New York, Index Number
157305/2017E.

Z Plaintiff's complaint was filed on or about August 15, 2017. JRM served an answer
on or about October 4, 2017. Facebook served an answer on November 29, 2017. Copies of the
pleadings in this matter are collectively attached as Exhibit A. ORDA MANAGEMENT
CORPORATION and 225 FOURTH, LLC have not appeared to date. All defendants were served
with the Summons and Complaint via the Secretary of State on or about August 25, 2017. Exhibit

B.

3. Plaintiff's Bills of Particulars are attached collectively as Exhibit C.

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4, The amount in controversy is not readily apparent from the Complaint. See Exhibit
A. Plaintiff served a verified reply to demand for Ad Damnum on or about December 7, 2017.
Exhibit D. Counsel indicates that plaintiff claims to have been damaged in the amount of
$10,000,000. Exhibit D.

5 Defendant seeks removal of this action pursuant to 28 U.S.C. §1446 and Local Civil
Rule 81.1, which permits removal of causes of action based upon diversity of citizenship of the
parties.

6. FACEBOOK, INC., was and still is a corporation organized and existing under the
laws of the State of Delaware and having its principal place of business at 1601 Willow Road, Menlo
Park, California, 94025.

7. JRM was and still is a New York limited liability company.

8. Orda Management Corporation was and still is a New York corporation with a
principal executive office at 225 Park Avenue South, New York, New York 10003.

a. 225 Fourth LLC was and still is a Delaware limited liability company.

10. The Plaintiff alleges in the complaint and again in the bills of particulars that he
resides at 240 Forrest St., Jersey City, New Jersey, 07304. Exhibit A, C. The Bills of Particulars
include an additional residence of 22 Buffalo Creek, Selma, North Carolina. Exhibit C.

11. | There is complete diversity of citizenship between the plaintiff and the defendants. In
addition, plaintiff counsel alleges that the amount in controversy is $10,000,000. Exhibit D. As
such, this case is ripe for removal.

THEREFORE, all parties to the Civil Action pending in the Supreme Court of the State
of New York, County of New York, Index No. 157305/2017E are HEREBY NOTIFIED

pursuant to 28 U.S.C. §1446 and Local Civil Rule 81.1, as follows:

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Removal of the Civil Action and all claims and causes of action therein is effected upon
the filing of a copy of this Notice of Removal with the Clerk of the State Court pursuant to 28
U.S.C. §1446. The Civil Action is removed from the State Court to the United States District
Court, Southern District of New York. The parties to the Civil Action shall proceed no further in

the State Court.

WHEREFORE, Defendant FACEBOOK, INC., pray that this cause of action be removed
to the United States District Court, Southern District of New York.

Dated: New York, New York
January 5, 2018

LEWIS BRISBOIS BISGAARD & SMITH, LLP

By: (fl.

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